Case 23-61742-bem          Doc 253    Filed 03/20/25 Entered 03/20/25 14:28:09           Desc Main
                                     Document      Page 1 of 4




      IT IS ORDERED as set forth below:



      Date: March 20, 2025
                                                             _________________________________

                                                                      Barbara Ellis-Monro
                                                                 U.S. Bankruptcy Court Judge

     ________________________________________________________________




              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 11
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

       ORDER CONVERTING CHAPTER 11 CASE OF THE DEBTOR TO CHAPTER 7

            This matter is before the Court on the Emergency Motion by Chapter 11 Trustee for an

     Order Converting the Chapter 11 Case of the Debtor to a Case under Chapter 7 and Request for

     Expedited Hearing [Doc. No. 246] (the “Motion”)1 that was filed by S. Gregory Hays, as Chapter

     11 Trustee (“Trustee”) for the bankruptcy estate (the “Estate”) of ARC Management Group,

     LLC, Debtor (the “Debtor”) in the above captioned case. Upon the Court having reviewed and




 1
  Capitalized, but undefined, terms used herein shall have the meaning ascribed to such terms in the
 Motion.

                                                   1
Case 23-61742-bem         Doc 253    Filed 03/20/25 Entered 03/20/25 14:28:09              Desc Main
                                    Document      Page 2 of 4



  considered the Motion, the matters reflected in the record in this Case, and the hearing on the

  Motion on March 13, 2025, the Court determined that: 1) the relief requested in the Motion is in

  the best interests of the Debtor, its estate, its creditors and other parties in interest; 2) the

  Court has jurisdiction over this proceeding; 3) this is a core proceeding; 4) due and proper notice

  of the Motion was given and such notice is good and sufficient under the particular

  circumstances; 5) no other or further notice or opportunity for a hearing need be given; and 6)

  good and sufficient cause exist for the relief requested in the Motion and granted herein.

          Accordingly, upon the record herein and after due deliberation thereon, and good and

  sufficient cause appearing therefore, it is hereby ORDERED that:

         1.     The Motion is GRANTED and the Chapter 11 Case of the Debtor is converted to a

 proceeding under Chapter 7 pursuant to 11 U.S.C. §1112(b) effective as of the entry of this Order.

         2.     The United States Trustee is directed to appoint a Chapter 7 trustee for the

 Bankruptcy Estate as soon as possible.

         3.     The Debtor shall, forthwith, turn over to the chapter 7 trustee all records and

 property of the estate in its possession or control and shall immediately turn over any other property

 of the estate which hereinafter comes into its possession or control during the pendency of this

 case;

         4.     The Debtor shall cooperate and assist the chapter 7 trustee in identifying,

 assembling, and collecting property of the estate and shall provide the chapter 7 trustee with all

 documents pertaining to assets of the estate as the trustee requests;

         5.     Not later than 14 days after entry of this Order, Debtor shall file a schedule of

 unpaid debts incurred after the filing of the petition and before conversion of the case, including




                                                   2
Case 23-61742-bem          Doc 253     Filed 03/20/25 Entered 03/20/25 14:28:09             Desc Main
                                      Document      Page 3 of 4



 the name and address of each holder of a claim and serve a copy of the schedule on the chapter 7

 trustee, the United States Trustee, and the person or entity to whom such debts are owed;

         6.      Not later than 28 days after entry of this Order, Debtor shall file and transmit to the

 chapter 7 trustee and the United States Trustee a final report and account regarding the status and

 disposition of all assets of the estate;

         7.      Not later than 28 days after entry of this Order, Debtor shall file and transmit to the

 United States Trustee monthly operating reports for each month or period through the date of

 conversion for which reports have not already been filed;

         8.       Not later than 28 days after entry of this Order, all professionals employed by

 Debtor shall file an application for final approval of fees and expenses incurred in or in connection

 with administration of the case under chapter 11 or, alternatively, turn over to the appointed chapter

 7 trustee any and all retainers, monies, or other remuneration received from Debtor prior to or after

 the filing of the petition for services rendered in or in connection with the chapter 11 case; and

         9.      The Clerk will serve this Order on the Debtor, the Debtor’s attorney, the United

 States Trustee, and all creditors and other parties in interest listed on the mailing matrixes.

         10.      This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation and/or enforcement of this Order.

                                       *** END OF ORDER ***

 Prepared and Presented By:
 LAW OFFICES OF HENRY F. SEWELL JR., LLC
 /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053; hsewell@sewellfirm.com
 COUNSEL FOR THE CHAPTER 11 TRUSTEE


                                                   3
Case 23-61742-bem       Doc 253    Filed 03/20/25 Entered 03/20/25 14:28:09   Desc Main
                                  Document      Page 4 of 4




                                       DISTRIBUTION LIST


 ARC Management Group, LLC
 1825 Barrett Lakes Blvd., N.W.
 Suite 505
 Kennesaw, GA 30144

 William A. Rountree
 Rountree Leitman Klein & Geer, LLC
 Century Plaza I, Suite 350,2987 Clairmont Road
 Atlanta, GA 30329

 Alan Hinderleider
 United States Department of Justice
 Office of the United States Trustee
 362 Richard B. Russell Building
 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303

 S. Gregory Hays, Trustee
 Suite 555
 2964 Peachtree Road NW
 Atlanta, Georgia 30305

 Henry F. Sewell, Jr.
 Suite 555
 2964 Peachtree Road NW
 Atlanta, Georgia 30305




                                               4
